                Case 5:24-cv-00519-OLG-HJB           Document 21         Filed 04/03/25             FILED
                                                                                              Page 1 of 1
Name:       Mark Anthony Ortega                                                                 April 03, 2025
Address: 152 Bedingfeld Dr                                                                   CLERK, U.S. DISTRICT COURT
                                                                                             WESTERN DISTRICT OF TEXAS

San Antonio, TX 78231                                                                                      vl
                                                                                         BY: ________________________________
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Pro Se
                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF TEXAS
Mark Anthony Ortega                                           CASE NUMBER

                                                                            5:24-CV-00519-OLG-HJB
                                               PLAINTIFF(S)
                               v.
Secure One Capital Corporation, Bruce Michael Edgell,                   APPLICATION FOR PERMISSION
and Ryan William Marier                                                   TO FILE ELECTRONICALLY
                                              DEFENDANT(S)

  As the        Plaintiff      Defendant    in the above-captioned matter, I respectfully ask the Court for
  permission to participate in electronic filing ("e-filing") in this case. I hereby affirm that:
  1. I have reviewed the Administrative Policies and Procedures for Electronic Filing in Civil and Criminal Cases
     and the Local Court Rules available on the Court's website at www.txwd.uscourts.gov.

  2. I understand that once I register for e-filing, I will receive notices and documents in this instant case
     only by e-mail and not by U.S. mail.
  3. I understand that if my use of the Court's e-filing system is unsatisfactory, my e-filing privileges may be
     revoked and I will be required to file documents in paper, but will continue to receive documents via e-mail.
  4. I understand that I may not e-file on behalf of any other person in this case.

  5. I have regular access to the technical requirements necessary to e-file successfully:
      Check all that apply.
       ✔    A Computer with internet access.

       ✔    An email account on a daily basis to receive notifications from the Court and notices from the
            e-filing system.

       ✔    A scanner to convert documents that are only in paper format into electronic files.

       ✔    A printer or copier to create required paper copies such as chambers copies.

       ✔    A word-processing program to create documents; and

       ✔    A PDF reader and a PDF writer to convert word processing documents into PDF format, the only
            electronic format in which documents can be e-filed.

Date: 4/3/2025                                         Signature:      /s/ Mark Anthony Ortega

Created 04/20                       APPLICATION FOR PERMISSION TO FILE ELECTRONICALLY
